IN THE UN_ITED sTATEs nIsTRiCT CoURT /
non THE WESTERN DIsTRICT oF erGINIA

R. ALEXANDER ACOSTA, )
SECRETARY OF LABOR )
UNITED S l`ATES DEPARTl\/IENT OF )
LABOR, ` ) Ciyil Action No: 7116»cv-00265-MFU
Piaintiff, ) -
)
v. )
' ` )
EL RODEO~ELECTRIC, INC., et al., )
Defendants. )
C()NSENT JU])GMENT

 

Plaintiff, R. Alexander Acosta, Seeretary of Labor', United States Departme`nt of Labor,
hereinafter referred to as “Plaintiff” or “the Secretary,” has filed his Complaint alleging
violations of thelFair Labor Standards Act of 1938, 29 U.S.C. § 201, et Seq. (hereinafter “the
Act"). Del`endants El rRodeo~Electric, lnc., El Rodeo Orange, hic., El Rodeo-Wildwood, Inc.,
Bravo Brandon, Inc. (El Toreo), Arellano, lnc. (El Toreo), El-Toreo-Thirlane, Inc., Elijio
Arellano, lesus Arellano and Augustin Arellano, hereinafter collectively referred as
c‘Defendants” or “Ernployers,” have appeared by counsel, hereby agree to the entry of this
Consent ludgment Without contest lt is, therefore, upon the consent of both Plaintiff and
Det`endants, and for cause shown: -

ORDERED, ADJUDGED, AND DECREED by the Court that Defendants, their oft`icers,
agents,- servants, employees and all persons acting or claiming to act on their behalf and interest
shall be, and he1eby are permanently enjoined and restrained from Violating the provisions of
Sections 6, 7, ll(c), l§(a)(Z), l§(a)($) and l,5(a)(5) of the Act, in any manner, specifically

l. Det`endants shall not, contrary to Scction 6 of the Act, pay to any of i_ts employees
who in any Worlcweel< are engaged in commerce or in the production of goods for commerce, or

7 employed in an enterprise engaged in commerce or in the.production of goods for commerce, within

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the meaning of the Act, Wages at rates less than those Which are noW, or Which in the future may
become_, applicable under Sections 6 and l§(a)(Z) of the Act.

2. Defendants shall not, contrary to Section 7 of the Act, employ any of their
employees inclu.ding, but not limited to, any of their employees yvorl<ing at El Rodeo~Electric,
Inci, El Rodeo Orange, lnc., El Rodeo-Wildwood, Inc., Bravo Brandon, Inc. (El T'oreo),
Arellano, lnc. (El Toreo), and El-Toreo-Thirlane, lnc., or at any business location owned, d
operated, and/or controlled by Defenda_nts, and-at any other business location at Which their
employees perform Worl<', in any Workweel< When they are engaged in commerce or employed in

n an enterprise engaged in commerce, Within the meaning of the Act, for Workweel<s longer than
the hours noW, or Which in the future become, applicable underl Sections 7 and lS(a)(?.) of the _
Act, unless the said employees receive compensation for their employment in excess of the
prescribed hours at a rate equivalent to one and one-half times the regular lrates applicable to
them.

3, Defendants shall not fail to mal<e, keep, and preserve adequate records of their
employees and of the Wages, hours, and other conditions and practices of employment
maintained by them including, but not limited to, any of their employees Working at El Rodeo- _
Electr-ic, lnc., El Rodeo Orange, lnc., Bl Rodec-Wildwood, Inc., Bravo Brandon, lnc, '(El Toreo),
Arcllano,`lnc. (El Toreo), and El-Toreo-Thirlane, Inc., or at any business location owned,
operated, and/or controlled by Defendants, and at any other business location at Which their
employees perform Worl<, as prescribed by the Relgulations issued pursuant to Section ll(c) and
lS(a)(§) of the Act and found at 29 C.F.R. Part 516.

4. n Defendants shall not discharge or take any retaliatory action against any of their
employees because the employee engages in any of the following activities pursuant to Section

l§(a)(B) ofthe Act:

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i. l)isclose_s, or threatens to disclose, to a supervisor or to a public agency,
any activity, policy, or practice of the Employers or another employer, _With Whorn there is a
business relationship, that the employee reasonably believes is in violation of the Act, or a rule or
regulation promulgated pursuant to the Act;

ii. Provides information to, or testifies before, any public agency or entity
conducting an investigation, hearing or inquiry into any alleged violation of the Act, or a rule or
regulation promulgated pursuant to the Act, by the Employers or another employer With Whom
there is a business relationship',

iii,` Objects to, or refuses to participate in any activity, policy or practice
Which the employee reasonably believes is in_violation of the Act, or a rule or regulation
promulgated pursuant to the Act.

lt is further ORDERlE,D, ADJUDGED and DECREED by the Court that:

5. Defendants are enjoined and restrained from Withholding gross back Wages in the
sum total amount $1,500,0(}0.00, and are jointly and severally liable for-the payment of
$1,5 0'0,000.00 in liquidated damages, due certain employees and former employees of
Defendants set forth and identified in Schedule A, Which is attached as Exhibit A hereto and
made a part hereof

6, Accordingly, it is ORDERED, ADJUDGED, AND DECREED that Defendants
are jointly and severally liable for the payment of the aforesaid back Wage compensation and g
liquidated damages due certain employees and former employees of Defendants listed on the
Schedule A-(attached hereto as EXhibit A). Defendants shall pay the above~referenced amounts
in accordance With the installment agreement, including interest, detailed on Schedule B, which

is attached hereto and incorporated herein

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_7. Defendants are jointly and severally liable for, and shall pay gross back pay of
overtime compensation in the total amount of 51,500,000.00 (“Bacl< Pay Amount”) to certain
employees and former employees of Defendants set forth and identified on the attached Schedule
A. Payment of the Bacl< Pay Arnount provided for herein shall be made in accordance with the
provisions set forth in Paragraphs 9 and ll, herein below, and the installment agreement detailed
on Schedule B, which is attached hereto and incorporated hercin.

8. Defendants are jointly and severally liable for, and shall pay liquidated damages
in the total amount of $1§500,000.00 (“Liquidated Damages Amount”) to certain employees and
former employees of Defendants set forth and identified m Schedule A. Payment of the amount
of liquidated damages shall be made m accordance with the provisions set t"orth 111 Paragraphs 9
and ll, herein belovv, and the installment agreement detailed on Schedule B, which 1s attached

hereto and incorporated herein.

 

9. lt is therefore agreed that Defendants shall pay gross back wages and liquidated

damages in the total amount of $3,0{)0,000.00, for violations of the minimum wage and overtime

` provisions of the Act by Defendants alleged to have occurred during the period beginning
lanuary 29, 2012 and ending lanuary 25, 2015 (“relevant period”). This amount shall represent
the full extent ot`bacl< wages and liquidated damages owed by Defendants for the relevant period
to the employees set forth and identified on the attached Schedule A. lt is further agreed that the
Bacl< Wage Amount and Liquidated Darnage Amount payments by the Defendants in the
amounts as specified above are in the nature of back wages and liquidated damages pursuant to
the provisions of the Act. Defendants shall remain responsible for the payment of allideductions
from the back wages considered to be the “employer’ s share,” including, but not limited to

FlCA and Unemployment lnsurance. Payments made in accordance with the installment

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agreement detailed on Schedule B, which is attached hereto and incorporated herein, shall be
made as follows: l
i. For payments related'to the Bacl< Wage Amount and Liquidated Damages
Amount, the Defendants will provide a cashier’s check or certified check made payable to
“Wage and Hour Division-Labor,” and will include on the “l\/lerno” line a notation reading
c‘Bacl< Wages and Liquidated Damages - Whisard Nos. 17034\40, 1757838, 1758955, 1759123,
1759257` and 1759258.” The check shall be sent to:
U.S. Department of Labor, Wage and l-lour` Division
Richmond District Oftice
- 400 North Sth Street, Suite 416
_ Richmond, Virginia 23219-4815
Attn: Cindy Maish l
ii. The Secretary, after making applicable tax deductions, shall distribute the
proceeds of these payments to the employees listed on Schedule A or to their estates if necessary
Any sums-not distributed to the employees named herein or to their personal representatives
because of inability to locate the proper persons or because of such persons’ refusal to accept
such sums shall be deposited with the Treasurer of the United States as miscellaneous receipts
pursuant to 28 U.S.C, §§ 2041 and 2042.

-`_ iii. l`o the best oftheir ability and based upon information it currently has in
its possession, Defendants shall provide to Plaintiff the social security number (or individual
taxpayer identification number) and last known address and telephone number of each employee
or former employee listed on Schedule A within thirty days of the entry of an order approving
this Order.

iii. 'l`he provisions of this Consent Ju_dgment shall not in any way affect any

legal right of__any individual not named in Schedule A, nor shall the provisions in any way affect

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any legal`right of any individual named in Schedule A to file any action against Defendants for
any violations alleged to have occurred outside the relevant period `

10. lt is FURTHER ORDERED, ADJUDGED, AND DECREED that if Defendants
fail to make the payments as set forth in Paragraph 5 above, upon notice to the Defendants, the
Court shall appoint a Receiver to effectuate all of the terms of this Consent Judgment. ln the
event a Receiver is appointed: ,

i. l Defendants shall cooperate with the Receiver in all respects, and shall
provide to the Receiver any and all information which the Receiver may require to carry out its
appointment and in accordance with the authority given to the Receiver pursuant to applicable
law at the time of appointmentl

ii. All the expenses _of the accountant or Receiver shall be borne solely by the
Defendants. l

iii. lf the Court appoints a Receiver, the Receiver shall serve until then
payment of the monetary terms of this ludgment are satisfied

iv. The Receiver shall have full authority to: collect the Defendants assets
and report his/her findings to the Court and the parties; to redeem and/or liquidate the
Defendants’ assets and turn over the proceeds to the Secretary; if the asset is a debt that is due,
collect it and turn over the proceeds to the Secretary; to analyze all indebtedness and where
deemed appropriate seel< restructuring; to analyze all transfers of the Defendants’ assets; to
prevent waste or fraud', and to do all acts and take all measures necessary or proper for the
efficient performance ofthe duties under this Consent Judgment;

1-1. In the event that Defendants sell any property or businesses before Defendants

pay in total the amounts set forth in Paragraph 5 of this Consent Judgrnent to the Secretary:

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i. Within 15 days of an offer of sale, Defendants shall notify the Secretary,
in writing, of the acceptance of the offer of sale and set forth the terms of the sale in their
entirety The written notice shall be sent to:

U.Si Department of Labor, Wage and llour Division
Richmond District Oftice

400 North Sth Street, Suite 416

Richmond, Virginia 23219-4815

Attn: Cindy l\/laish

ii. Within 30 days of the closing of the sale of, Defendants shall provide the
Secretary with the total proceeds of the sale. The proceeds from the sale shall be sent to the
Secretary in accordance with l-"aragraph 9, Subpart (i) of this Consent .ludgment. lf the proceeds
of the sale do not wholly satisfy the remaining amounts due under the installment agreement
detailed on Schedule B, which is attached hereto and incorporated herein, Defendants shall _
continue to adhere to the installment agreement until Defendants have paid all of the amounts set _

. forth in Paragraph 5 of this Consent fludgment.

iii. 'l`he Secretary, after making applicable tax deductions, shall distribute the
proceeds of the sale to the employees listed on Schedule A or to their estates if necessary Any
sums not distributed to the employees named herein or to their personal representatives because
of inability to locate the proper persons or because of such persons’ refusal to accept such sums n
shall be deposited with the Treasurer of the United States as miscellaneous receipts pursuant to
28 U.S.C. §§ 2041 and'2042.

l 12. l Neither Defendants nor anyone‘on their behalf shall directly or indirectly solicit or
accept the return or refusal of any sums paid under this Consent Judgment. Any such amount
shall be paid to the Secretary for deposit as above and in accordance with the provisions set

forth in Paragraphs 9 and -11, herein above, and the installment agreement detailed on Schedule

B, which is attached hereto and incorporated herein, and Defendants shall have no further

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obligations with respect to such returned monies Plaintiff’s representatives at the United States

` Department of Labor, Wage and Hour Division, shall deliver the proceeds of any sums not
distributed to the employees named therein because of inability to locate the proper person or
because of such person's refusal to accept such sums to this Court to be received and accounted
for within the provisions of Title 28, U.S.C. §§ 2041 and 2042. -l\/loreover, if recovered wages
have not been claimed by the employee or the employee°s estate within three years of the entry
of this Consent ludgment, the Sec'retary shall deposit such money with the Treasury in
accordance with Section 16(0) of the Act.

13.' Further, the parties agree that the instant action isdeemed to solely cover
Defendants’ business and operations for the relevant period for all claims raised in the
Complaint as a result of the Secretary’s investigation and that this Consent ludgment fully and
finally resolves the instant action. f he parties agree that the filing of this action and the
provisions of this ludgment shall not, in any way, affect, determine, or prejudice any and all
rights of any person specifically named on Schedule A or the Secr'etary for any period after
lanuary 25, 2015, or any persons, be they current or former employees, not specifically named
on Schedule A, insofar as such rights are conferred and reserved to said employees by reason of
Section 16(1>) of the Act. g l

14. lt is FURTHER ORDERED, ADJUDGED, ANl) DECREED by the Court that
upon full compliance with the terms of this Consent ludgment, the dispute between the
Secretary and Defendants with regard to violations of the Act for the period of January 29, 2012
to January 25, 2015, shall be resolved

15. Defendants agree that they are employers within the meaning of Section 3(d) of

the A¢r, 2911.s.c, § zos(a)_

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16. By entering into this`Cons'ent Judgment, Plaintiff does not waive his right to
conduct future investigations of Defendants under the provisions of the Act and to take
appropriate enforcement action, including assessment of civil money penalties pursuant to
Section ld(e) of the Act, with respect to any violations disclosed by such investigations

l’?. . lt is FURTHER, ORD-ERED, ADJUDGED, AND DECREED that each party will

bear its own fees and other expenses incurred by such party in connection with any stage of this
proceeding including, but not limited to, attorney fees which may be available under the Equal

Access to Justice Act, as amended

 

Chief United States District Judge Michael F. Urbansl<i

Dated: , 2017

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Defendants have appeared by counsel and _ For the Secretary:
hereby consent to the entry of this Judgment. ' -
Nicholas C. Geale

 

For the Employers Bravo Brandon, lnc. (El Acting Solicitor of Labor

Toreo), El Rodeo~Electric, lnc., El Rodeo -

Orange, lnc., and El-Toreo~Thirlane, Inc. ' Oscar L. Hampton III

' Regional Solicitor

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Elij` Are ano - Samantha N. Thornas

Individually, and as Ovvner of Bravo Brandon, Counsel\ for Wage and Hour f

lnc. (El Toreo), El Rodeo-Eiectric, Inc., and El f § j h 7 1 _'§ § ~ .

Rodeo Orange, Inc., and Former Owner of El~ j'ij,»-/i¢'*"';>~,/ -- y i_,,..e cat t alasfo -

Toreo»Thirlane, Inc. ' Dorninique V. Sinedi/

7 Trial Attorney '

' VA Bar No. 28707
F or the Employers Arellano:l inc. (El Toreo-), El

Rodeo»l§`,lectric, lnc., El Rodeo Orange, lnc., U.S. Department of Labor
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` Wiidwood, lnc. _ 201 12th Street South
` Arlington, VA 22202-5450
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Je d rellano Facsimile No. (202) 693-9392
_Individually, and as Owner of El Rodeo Sinesi.Dominigue(chol.gov
Orange, lnc., El-Toreo~']_`hirlane, lnc., and El . _
Rodeo~WildWood, Inc., and Forrner Owner of U-S- DEPARTMENT OF LABOR
Arellano, lnc. (El Toreo) and Bl Rodeo- - -
1319/emg lnc_ ` Attorneys for Plaintir`i°

U.S. Department of Labor

For the Employers Arellano, Inc. (El Toreo),
El~Toreo~'l`hirlane, lnc., and Ei Rodeo~
Wildwood, lnc.

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Individuaily, and as Owncr of Arellano, Inc.
(El Toreo), El~Toreo-Thirlane, Inc,, and El

Roc%iwood, lnc.

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Toreo), Arellano, inc. (El 'i`oreo), El~Toreo-
Thirlane, lnc., Elijio Arellano, Jesus Arellano
and Augustin Arellano `

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